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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



  NATIONAL VETERANS LEGAL
  SERVICES PROGRAM, et al.,

                         Plaintiffs,
                                                         Civil Action No. 16-745 (ESH)
                 v.

  UNITED STATES OF AMERICA,

                         Defendant.



                                            ORDER

       Before the Court is defendant’s Motion to Certify the Court’s Orders of December 5,

2016, and March 31, 2018 for Interlocutory Appeal and to Stay Proceedings Pending Appeal

(ECF No. 99). Plaintiffs advised the Court during a status conference on July 18, 2018, that they

opposed certification of the December 5, 2016 Order, but otherwise consented to defendant’s

motion. Upon consideration of the motion, plaintiffs’ partial consent thereto, and the entire

record herein, and for the reasons stated in open court on July 18, 2018, and in the accompanying

Memorandum Opinion, it is hereby

       ORDERED that the defendant’s motion is GRANTED IN PART AND DENIED IN

PART as follows:

       (1) For the reasons stated in open court on July 18, 2018, the motion is DENIED as to the

December 5, 2016 Order (ECF No. 24).

       (2) For the reasons stated in an accompanying Memorandum Opinion, ECF No. 105, the

motion is GRANTED as to the Court’s Order of March 31, 2018 (ECF No. 88).
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       (3) The motion to stay further proceedings pending appeal is GRANTED and all

proceedings in this matter are hereby STAYED pending further order from this Court.

       It is further ORDERED that the Court’s Order of March 31, 2018 (ECF No. 88) is

AMENDED to add the following statement:

       It is further ORDERED that this Order is certified for interlocutory appeal
       pursuant to 28 U.S.C. § 1292(b) because it involves “a controlling question of law
       as to which there is substantial ground for difference of opinion” and because “an
       immediate appeal from the order may materially advance the ultimate termination
       of the litigation.” 28 U.S.C. § 1292(b). A separate Memorandum Opinion issued
       today sets out in greater detail the basis for the Court’s decision to certify this
       Order.

SO ORDERED.




                                                    _______________________
                                                    ELLEN S. HUVELLE
                                                    United States District Judge

DATE: August 13, 2018




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